       Case 1:22-cr-00019-RCL Document 52 Filed 02/09/23 Page 1 of 1



1    R. DEKE FALLS
     California State Bar No. 289490
2    FEDERAL DEFENDERS OF SAN DIEGO, INC.
     225 Broadway, Suite 900
3    San Diego, California 92101-5030
     Telephone: (619) 234-8467
4    Facsimile: (619) 687-2666
     Deke_Falls@fd.org
5
     Attorneys for Mr. Robert Turner
6
7                         UNITED STATES DISTRICT COURT
8                         FOR THE DISTRICT OF COLUMBIA
9
10   UNITED STATES OF AMERICA,                CASE NO.: 22-CR-00019-RCL-3
11                     Plaintiff,
                                              NOTICE OF APPEARANCE
12         v.                                 AS COUNSEL
13   ROBERT TURNER,
14                               Defendant.
15
16         Please enter the appearance of Chief Trial Attorney, Richard Deke Falls,
17   Federal Defenders of San Diego, Inc., on behalf of the defendant Robert Turner, in
18   the above-captioned case.
19                                        Respectfully submitted,
20
21   Dated: February 9, 2023              s/ Deke Falls
                                          Federal Defenders of San Diego, Inc.
22                                        Attorneys for Mr. Robert Turner
                                          Email: Deke_Falls@fd.org
23
24
25
26
27
28
